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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA

EQUALITY FLORIDA; FAMILY
EQUALITY; M.A., by and through
his parent AMBER ARMSTRONG;
ZANDER MORICZ; LINDSAY
MCCLELLAND, in her personal
capacity and as next friend and
parent of JANE DOE; RABBI AMY
MORRISON and DR. CECILE
HOURY; DAN and BRENT                   Civil Action No. 4:22-cv-0134-
VANTICE; LOURDES CASARES               AW-MJF
and KIMBERLY FEINBERG;
LINDSEY BINGHAM SHOOK; and
ANITA HATCHER POWDERLY,
                        Plaintiffs,
               v.

RONALD D. DESANTIS, in his
official capacity as Governor of
Florida; FLORIDA STATE BOARD
OF EDUCATION; THOMAS R.
GRADY, BEN GIBSON,
MONESIA BROWN, ESTHER
BYRD, GRAZIE P. CHRISTIE,
RYAN PETTY, and JOE YORK, in
their official capacities as members
of the Board of Education;
RICHARD CORCORAN, in his
official capacity as Commissioner of
Education of Florida; FLORIDA
DEPARTMENT OF EDUCATION;
SCHOOL BOARD OF MANATEE
COUNTY; SCHOOL BOARD OF
SARASOTA COUNTY; SCHOOL
BOARD OF MIAMI-DADE
COUNTY; ST. JOHNS COUNTY
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 SCHOOL BOARD; and JACKSON
 COUNTY SCHOOL BOARD;
                           Defendants.


    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ CONSOLIDATED
           MOTION TO EXTEND RULE 26(F) DEADLINE

      Defendants devote nine pages to opposing Plaintiffs’ motion for a litigation

schedule, but never propose one of their own (despite the Court’s express invitation

in its most recent order that the parties do so) and never explain why the Court should

not adopt a schedule that coordinates Defendants’ anticipated motion to dismiss with

Plaintiffs’ anticipated preliminary injunction motion. Instead, Defendants admit that

they are unwilling to engage on any scheduling question apart from filing their own

motion to dismiss (and requesting an extension of the Rule 26(f) deadline),

apparently so confident in their motion that they see no point to even first discussing

a schedule until three weeks after Plaintiffs file their amended complaint. That

confidence is misplaced—and so is their assertion that it is somehow improper for

Plaintiffs to seek a comprehensive schedule in this case. The Court should deny

Defendants’ motion and establish a litigation schedule.

      First, Defendants never actually deny that it would make sense (and achieve

significant efficiencies) to coordinate the briefing on their motions to dismiss and

Plaintiffs’ preliminary injunction motion. Given the substantial overlap between the



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issues to be addressed, as well as the likelihood of amicus practice, it should be in

everybody’s interests to agree on a consolidated schedule for those motions.

      Second, Defendants have never in fact “conferred” on a schedule. Opp. at 2.

They have refused to discuss a coordinated litigation schedule at all. To this day,

they attack Plaintiffs’ proposal without identifying any counterproposal they have

ever made and without making one. Moreover, Defendants are candid about their

thinking: they believe that the Court should entertain their motion to dismiss without

even considering Plaintiffs’ forthcoming preliminary injunction motion. Based on

that belief, they see no need to seriously discuss anything else. But Defendants’

bountiful self-confidence offers no legitimate reason for the Court to decline to

establish a litigation schedule. Nor is it an excuse for Defendants’ blatant refusal to

even discuss a schedule that would properly organize the filings in this case.

      Third, Defendants are simply wrong to characterize Plaintiffs’ motion as a

request for expedited merits discovery. The only reason Plaintiffs raised the issue of

discovery is that they intend to rely on fact and expert testimony in support of their

preliminary injunction motion—and it would make no sense for the parties to submit

full briefing on preliminary injunction motions, complete with numerous fact and

expert witnesses, and only then for the parties to first consider potential requests for

depositions or other discovery. If Defendants will agree to waive any right to such

discovery at the preliminary injunction stage, so be it. But otherwise, it is responsible



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and appropriate (and entirely commonplace) for the parties to account for potential

depositions in structuring these proceedings. That is why Plaintiffs have proposed a

highly expedited period of discovery confined solely to the evidence that will be

submitted to the Court in connection with preliminary injunction practice. And in

response, Defendants do not ever deny that they may seek such discovery—instead,

they seek to obfuscate the issue by complaining generally about expedited discovery

and insisting that no decisions should be reached for at least another month (and

apparently until after the preliminary injunction briefing is well underway).

      To be clear, Defendants are mistaken in suggesting that Plaintiffs’ proposal is

unusual. As confirmed by the cases that Plaintiffs cited in their original motion, it is

commonplace for parties to undertake limited discovery in specific contemplation

of a forthcoming preliminary injunction motion. The Advisory Committee Notes to

Rule 26(d) specifically note that discovery before the Rule 26(f) conference “will be

appropriate in some cases, such as those involving requests for a preliminary

injunction . . . .” And Florida federal courts have made the same point: “Expedited

discovery is particularly appropriate when a plaintiff seeks injunctive relief because

of the expedited nature of injunctive proceedings . . . where it would better enable

the court to judge the parties’ interests and respective chances for success on the

merits at a preliminary injunction hearing.” Marketran, LLC v. Brooklyn Water

Enters., Inc., 2016 WL 8678547, at *1 (S.D. Fla. Aug. 5, 2016) (citation and



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quotation marks omitted) (granting expedited discovery prior to preliminary

injunction hearing).

      Many other courts nationwide have followed the same reasoning. See, e.g.,

Water Tree Ventures, LLC v. Giles, 2018 WL 7361405, at *1 (N.D. Fla. Aug. 7,

2018) (finding good cause to grant discovery concerning “matters relevant” to the

potential preliminary injunction in order to forestall unlawful action); see also

Wedge Water LLC v. Ocean Spray Cranberries, Inc., 2021 WL 2138519, at *2 (S.D.

Cal. May 26, 2021) (authorizing discovery to permit a party to determine whether to

file a preliminary injunction where moving party produces “concrete evidence of a

potential harm” and “establishes the need to preserve the status quo”); Oglala Sioux

Tribe v. Van Hunnik, 298 F.R.D. 453, 456 (D.S.D. 2014) (granting discovery request

for the purpose of “prepar[ing] a motion for a preliminary injunction”); Apple, Inc.

v. Samsung Electronics Co., Ltd., 2011 WL 1938154, at *2 (N.D. Cal. May 18, 2011)

(granting discovery absent a pending motion for preliminary injunction because

plaintiff sought to prevent irreparable harm); Wachovia Securities, L.L.C. v. Stanton,

571 F. Supp. 2d 1014, 1050 (N.D. Iowa 2008) (pre-motion discovery appropriate

where it would “clarify matters” and may “ultimately lead to the prompt and efficient

disposition of this litigation and the parties’ underlying dispute”); Charles Schwab

& Co., Inc. v. Portfolio, LLC, 2008 WL 11322135, at *2 (D.N.M. June 26, 2008);

Ellsworth Associates, Inc. v. U.S., 917 F. Supp. 841, 844 (D.D.C. 1996) (finding



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discovery “particularly appropriate when a plaintiff seeks injunctive relief because

of the expedited nature of injunctive proceedings” and that “courts have routinely

granted expedited discovery in cases involving challenges to constitutionality of

government action”); Edudata Corp. v. Sci. Computers, Inc., 599 F. Supp. 1084,

1088 (D. Minn. 1984) (granting discovery where it would “better enable the court to

judge the parties’ interests and respective chances for success on the merits”), rev’d

in part on other grounds, 746 F.2d 429 (8th Cir. 1985). 1                     0F




           Finally, Defendants assert that Plaintiffs’ motion for a preliminary injunction

(which has not yet been filed) should be denied or treated less seriously because

Plaintiffs have decided to amend their complaint and to propose a schedule. Opp. at

3 (citing Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016)).

Defendants are mistaken twice over. It is black-letter law that the parties have an

obligation to “work cooperatively in controlling the expense and time demands of

litigation” and “to work together, and with the court, to achieve prompt and efficient

resolutions of disputes.” Fed. R. Civ. P. 1. Moreover, this case—unlike Wreal—

concerns a challenge to a law that has not yet gone into effect (that occurs on July 1,

2022) and that will impose concrete constitutional harms properly addressed through

a preliminary injunction proceeding. See, e.g., Elrod v. Burns, 427 U.S. 347, 373



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    Defendants’ cases concerning “expedited discovery” are not to the contrary as none involved the question whether
          to conduct discovery before a preliminary injunction.



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(1976); Cate v. Oldham, 707 F.2d 1176, 1188 (11th Cir. 1983). Plaintiffs’ diligence

in establishing a proper evidentiary record for their preliminary injunction request—

and their efforts to coordinate with Defendants—reflect efforts to ensure a reasoned

and orderly process rather than one in which Defendants refuse to commit to any

positions on scheduling so that they can later seek to stall and confuse the litigation.

      To be clear, if Defendants do not believe any discovery should be taken with

respect to Plaintiffs’ preliminary injunction motion, then Plaintiffs are ready to

propose a schedule that removes the discovery period and condenses the remaining

deadlines. But Defendants should not be heard to complain about supposed requests

to “expedite” discovery even as they refuse to commit to any positions and ask the

Court to order that the parties need not even discuss anything until June 15, 2022.




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Dated: May 10, 2022

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